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                                                                                  USDC SDNY
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UNITED STATES DISTRICT COURT                                                      ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                     DOC #:
                                                                                  DATE FILED: 11/6/2020
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 MAGALIS OTERO,                                                 :
                                                                :
                                              Plaintiff,        :
                                                                :
                            -against-                           :           20-cv-5126 (VEC)
                                                                :
                                                                :                ORDER
 VERIZON NEW YORK INC., CETERIS                                 :
 PORTFOLIO SERVICES, LLC D/B/A NORTH :
 SHORE AGENCY, COLLECTO, INC. D/B/A                             :
 EOS CCA AND RECEIVABLES                                        :
 PERFORMANCE MANAGEMENT, LLC,                                   :
                                              Defendants. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS on September 30, 2020, the Court entered a Case Management Plan in this

case (Dkt. 34);

        WHEREAS the Court set the deadline for fact discovery as January 15, 2021, and the

date of the next pretrial conference as January 22, 2021;

        WHEREAS the docket text reflects the parties’ proposed dates rather than the Court-

ordered dates;

        IT IS HEREBY ORDERED that the deadline for fact discovery is January 15, 2021, and

the date of the next pretrial conference is January 22, 2021. The Clerk of Court is respectfully

requested to update the docket text to reflect these deadlines.



SO ORDERED.
                                                                    ________________________
Date: November 6, 2020                                                 VALERIE CAPRONI
      New York, New York                                             United States District Judge
